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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 7

JEVIC HOLDING CORP., et al.,1                      Case No. 08-11006 (BLS)
                                                   (Jointly Administered)
                       Debtors.


OFFICIAL COMMITTEE OF UNSECURED
CREDITORS, on behalf of the bankruptcy
estates of JEVIC HOLDING CORP., et al.,            Adv. No. 08-51903 (BLS)

                       Plaintiff,                  Re: Adv. Docket Nos. 43, 121 and 122
                v.

THE CIT GROUP/BUSINESS CREDIT, INC.,
in its capacity as Agent, et al.,

                       Defendant.


          MOTION OF THE CIT GROUP/BUSINESS CREDIT, INC., AS AGENT,
              FOR JUDGMENT ON THE PLEADINGS PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 12(c)

         The CIT Group/Business Credit, Inc. (“CIT”), in its capacity as agent for itself and BMO

Capital Markets Financing, LaSalle Bank Midwest National Association, PNC Bank, N.A., and

Wachovia Bank, National Association (together with CIT in its capacity as lender, the “Lender

Group”) hereby moves this Court for judgment on the pleadings, pursuant to Federal Rule of

Civil Procedure 12(c), as made applicable by Federal Rule of Bankruptcy Procedure 7012 (this

“Motion for Judgment on the Pleadings”), for the reasons set forth in the Opening Brief of the

CIT Group/Business Credit, Inc., as Agent, in (I) Opposition to the Motion to Substitute Chapter

7 Trustee as Real Party in Interest and (II) Support of the Motion of the CIT Group/Business

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  The Debtors in this Chapter 7 case, along with the last four digits of the Debtors’ federal tax
identification numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic
Transportation, Inc. (3402).
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Credit, Inc., as Agent, for Judgment on the Pleadings, which was filed contemporaneously

herewith and is incorporated herein.

       WHEREFORE, CIT respectfully requests that, as set forth in the proposed Order attached

as Exhibit A, this Court (i) grant the Motion for Judgment on the Pleadings and (ii) and enter

judgment in CIT’s favor on all claims in the Complaint against CIT (including, without

limitation, Counts One through Twelve) and (b) granting such further relief to CIT as is

appropriate.

Dated: April 6, 2020                         Respectfully submitted,
Wilmington, Delaware
                                             REED SMITH LLP

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                                             Credit, Inc., as Agent




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